                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE
______________________________________________________________________________

PAM LINDSEY                 )
                            )
       Plaintiff,           )
                            )
v.                          )                       Civil Action No. ________________
                            )
ENCORE CAPITAL GROUP, INC., )
MIDLAND FUNDING, LLC,       )
MIDLAND CREDIT MANAGEMENT, )                        Jury Trial Demanded
INC., NANCY M. KOHLS, and   )
HOSTO & BUCHAN, PLLC        )
                            )
       Defendants.          )


                                        COMPLAINT


                               JURISDICTION AND VENUE

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, and pursuant to 15 U.S.C. §

      1692k(d).

2.    This action arises out of violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§

      1692 et seq. (“FDCPA”) by all Defendants, in their illegal efforts to collect consumer debts.

3.    Venue is proper in this District because the acts and transactions occurred here and Plaintiff

      resides here.

                                           PARTIES

4.    Plaintiff Pam Lindsey (hereinafter referred to as “Plaintiff”) is a natural person who resides

      in Hawkins County, Tennessee and is a “consumer” as defined by 15 U.S.C. § 1692a(3).




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5.    Defendant Encore Capital Group, Inc. (hereinafter “Defendant Encore”) is a “debt collector”

      as defined by 15 U.S.C. § 1692a(6), and a for-profit corporation organized in Delaware, and

      maintains Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington,

      DE 19808, as its registered agent for service of process.

6.    Defendant Midland Funding LLC (hereinafter “Defendant Midland Funding”) is a “debt

      collector” as that term is defined by 15 U.S.C. § 1692a(6), and a for-profit limited liability

      company organized in Delaware that is a wholly owned subsidiary of Defendant Encore,

      and that maintains Corporation Service Company, 2908 Poston Avenue, Nashville, TN

      37203-1312, as its registered agent for service of process.

7.    Defendant Midland Credit Management, Inc. (hereinafter “Defendant Midland Credit”) is a

      “debt collector” as that term is defined by 15 U.S.C. § 1692a(6), a for-profit corporation

      organized in Kansas that is a wholly owned subsidiary of Defendant Encore, and maintains

      Corporation Service Company, 2908 Poston Avenue, Nashville, TN 37203-1312, as its

      registered agent for service of process.

8.    Defendant Nancy M. Kohls (hereinafter “Defendant Kohls”) is a natural person whom, on

      information and belief, during the time period covered by this Complaint was employed by

      Defendant Midland Credit as a collection agent, and is a “debt collector” as that term is

      defined by 15 U.S.C. § 1692a(6), and may be served at her home address of 926 5th Avenue,

      North, Sartell, MN 56377-1527.

9.    Defendant Hosto & Buchan, PLLC (hereinafter “Defendant Hosto”) is a “debt collector” as

      that term is defined by 15 U.S.C. § 1692a(6), and a for-profit professional limited liability

      company organized in Arkansas that maintains Corporation Service Company, 2908 Poston

      Avenue, Nashville, TN 37203-1312, as its registered agent for service of process.




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                                FACTUAL ALLEGATIONS

10.   Defendants have alleged that Plaintiff incurred an obligation to pay money arising out of

      a transaction in which the money, property, insurance or services which are the subject of

      the transaction are primarily for personal, family or household purposes, and is therefore

      a “debt” as that term is defined by 15 U.S.C. § 1692a(5), namely, a credit card debt

      allegedly originally owed to or serviced by Citibank (hereinafter “Citibank”).

11.   After default, Plaintiff’s alleged debt was consigned, sold or otherwise transferred to

      Defendants for collection from Plaintiff.

12.   Defendants Encore, Midland Funding and Midland Credit (hereinafter collectively the

      “Encore Defendants”) operate as a debt buying and debt collection enterprise. Defendant

      Encore is not simply a parent holding company, though it owns 100% of the shares and

      interests in Defendants Midland Credit and Midland Funding. Instead, all three

      Defendants operate as parts of a single business operation. Defendant Encore provides

      management and decision-making, Defendant Midland Funding exists as an employee-

      less paper entity that holds title to the enterprise’s purchased debt portfolios and

      Defendant Midland Credit operates as the front for contact with the targeted debtor-

      consumers, calling itself the “servicer” of the Encore Defendants’ collection accounts.

13.   Defendant Encore explains on its webpage that, “Encore Capital Group, Inc. (‘Encore’),

      through its subsidiaries . . . , is a leading provider of debt management and recovery

      solutions for consumers and property owners across a broad range of assets. We purchase

      portfolios of defaulted consumer receivables at deep discounts to face value and use a

      variety of operational channels to maximize our collections from these portfolios.” See

      http://www.encorecapital.com - last visited December 4, 2012.




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14.   Defendant Encore does not operate independent of Defendants Midland Credit and

      Midland Funding. It does not have a separate office, separate management or separate

      business and income. Instead, it serves as the name of the Encore family of subsidiaries,

      all of who are interrelated and inseparably operated as a single business operation that is

      engaged in the business of purchasing charged-off consumer debts and attempting to

      collect them from consumers.

15.   Defendant Kohls as an employee and/or agent of Defendant Midland Credit is personally

      involved in debt collection from Plaintiff by signing the sworn affidavit in support of the

      collection lawsuit, and may be held personally liable as a debt collector regularly engaged

      in the collection of consumer debts owed or due or asserted to be owed or due another.

16.   Defendant Hosto is regularly engaged in the collection of consumer debts owed or due or

      asserted to be owed or due another by allegedly preparing, reviewing and/or prosecuting

      collection lawsuits against consumers in state court in Tennessee.

17.   When purchasing charged-off consumer debts, the Encore Defendants’ make an

      intentional business decision not to obtain competent evidence that would allow them: (1)

      to determine if the consumer actually owes the debt, and (2) to correctly calculate the

      amount of debt owed.

18.   The Encore Defendants’ main avenue of collecting charged-off consumer debts is the

      implementation of a state court litigation model that includes employment of debt

      collection attorneys such as Defendant Hosto to file collection lawsuits, and Defendant

      Midland Credit employees and/or agents to sign the affidavits filed in support of the

      collection lawsuits.




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19.   The only evidence provided to debt collection attorneys such as Defendant Hosto to file

      the collection lawsuits are affidavits signed by the employees and/or agents of Defendant

      Midland Credit without personal knowledge (a) that a contract on which the Defendants

      allegedly relied to file the collection lawsuit actually exists, or (b) if it does exist, what

      language it contains regarding the contract interest rate, (c) that the amount Plaintiff

      allegedly owes is correct, or (d) if the documents transferring the alleged debt to

      Defendant Midland Funding actually exist.

20.   Each affidavit is a “communication” as defined by 15 U.S.C. § 1692a(2), and is not a

      formal pleading made in connection with a legal action.

21.   The affidavits signed by employees and/or agents of Defendant Midland Credit, under

      penalty of perjury, allege amounts owed that are based solely on hearsay in the form of

      electronic data transferred from the original creditor or it’s assignee, not from personal

      knowledge of the affidavit signers.

22.   Defendant Hosto did not request any evidence beyond the sworn affidavit from the

      Encore Defendants prior to filing and serving the lawsuit, and filed it knowing that

      neither it nor the other Defendants possessed competent evidence (a) that a contract on

      which the Defendants allegedly relied to file the collection lawsuit actually exists, or (b)

      if it does exist, what language it contains regarding the contract interest rate, (c) that the

      amount Plaintiff allegedly owes is correct, or (d) if the documents transferring the alleged

      debt to Defendant Midland Funding actually exist, and did not intend to obtain it, if

      challenged by a consumer.




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23.    Despite the “business records” exception to the hearsay rule being clearly defined for

       years, the Tennessee Court of Appeals recently determined what competent evidence is

       required to prove the alleged debts under this hearsay exception in a debt buyer case.1

24.    The litigation model used by Defendants to collect consumer debts is to file collection

       lawsuits against consumers: (1) after making intentional business decisions that, if

       challenged, they will not obtain competent evidence of the alleged debt, including the

       contract on which Defendants allegedly relied to file and serve the collection lawsuit, (2)

       prior to reasonably and adequately investigating whether a consumer owes the amount of

       debt they are attempting to collect, or owes the debt at all, (3) intentionally using sworn

       affidavits that knowingly contain false, deceptive, and misleading statements made by

       persons who do not possess personal knowledge of (a) whether a contract on which the

       Defendants allegedly relied to file the collection lawsuit exists, or (b) if it does exist,

       what language it contains regarding the contract interest rate, (c) whether the amount

       Plaintiff allegedly owes is correct, or (d) the documents allegedly transferring the alleged

       debt to the Encore Defendants’ ownership actually exist that is necessary to make a

       sworn affidavit as to the correctness of the amount owed, and (4) with the improper



1
  (1) “‘[E]very link in the chain between the party to which the debt was originally owed and the
party trying to collect the debt must be proven by competent evidence in order to demonstrate
standing’”, See, LVNV Funding, LLC v. Mastaw, 2012 WL 1534785, at *5 (Tenn. Ct. App.
Apr. 30, 2012) (citing Cach, LLC v. Askew, 358 S.W.3d 58, 62 (Mo. 2012) (citing Midwestern
Health Mgmt., Inc. v. Walker, 208 S.W.3d 295, 298 (Mo. App. 2006)), and “‘the Plaintiff must
demonstrate . . . that it is the valid assignee of an existing debt’ and that the record was made in
the regular course of business”. Id., citing, Cuda & Assoc., LLC v. Lumpkin, 2011 WL
6413674, at *1, 2; (Conn. Super. Ct. Nov. 29, 2011) (internal citations omitted), (2) The
production of business records that “properly fit within Rule 803(6), the business records
exception to the hearsay rule”. Id. at *7, and (3) The business records must be introduced by a
“witness with ‘personal knowledge of the business’s record-keeping methods and can explain
same to the court’”. Id. at *8, fn. 13 (citing, Beal Bank S.S.B. v. RBM Co., 2002 WL 43604, at
*2) (Tenn. Ct. App. Jan. 11, 2002) (citing Alexander, 903 S.W.2d at 700)).

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      motive of obtaining default judgments against 95% or more of the consumers intimidated

      by the allegations in the sworn affidavits because they are made in the course of litigation

      and under penalty of perjury; all in order to increase Defendants’ respective financial

      bottom lines (hereinafter referred to as the “litigation model”).

25.   Defendants followed their litigation model while attempting to collect the alleged debt

      from Plaintiff.

26.   In a large majority of the cases, debt buyers such as the Encore Defendants and debt

      collection attorneys such as Defendant Hosto obtain a default judgment and the

      sufficiency of the debt buyer’s sworn affidavits are never challenged.

27.   In those instances where a consumer has the means and ability to defend the collection

      lawsuit, the Defendants will dismiss the case rather than risk having their systemic fraud

      on the court exposed.

                            November 15, 2011 Collection Lawsuit

28.   On or about November 15, 2011, the Encore Defendants and Defendant Hosto filed a

      Civil Summons and sworn Affidavit in state court and caused it to be served on Plaintiff

      (collectively the “collection lawsuit”). Copy of the November 15, 2011 collection lawsuit

      is filed as Exhibit 1 to this Complaint (hereinafter “Doc. 1-1”).

29.   The Civil Summons and sworn Affidavit were served on Plaintiff within a year prior to

      the filing of this Complaint, in connection with collection of the debt and in an attempt to

      collect the debt, and each is a “communication” as defined by 15 U.S.C. § 1692a(2).




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                    Use of Civil Summons That Contained False, Deceptive and
              Misleading Statements in Connection With Collection of the Alleged Debt

30.   The Civil Summons stated that the Encore Defendants and Defendant Hosto were seeking

      to collect “for a money judgment of $1,810.53 plus cost of this cause by reason of a suit

      filed on a sworn account . . . with the principle [sic] balance of $1,810.53.” See, Doc. 1-1,

      p. 1.

31.   In the sworn Affidavit dated on or about October 29, 2011, Defendant Kohls certified

      under penalty of perjury that:

      (1)     “I am employed as a Legal Specialist and have access to pertinent

              account records for [Defendant Midland Credit], servicer of this

              account on behalf of [Defendant Midland Funding].”

      (2)     “I . . . make the statements herein based upon personal knowledge

              of those account records maintained on [Defendant Midland

              Funding’s] behalf.”

      (3)     [Defendant Midland Funding] “is the current owner of, and/or

              successor to, the obligation sued upon, and was assigned all the

              rights, title and interest to [Plaintiff’s] CIT BANK account . . . .”

              (all caps in original)

      (4)     “I have access to and have reviewed the records pertaining to the

              account and am authorized to make this affidavit on [Defendant

              Midland Funding’s] behalf.”

      (5)     “I am familiar with the manner and method by which [Defendant

              Midland Credit] creates and maintains its business records

              pertaining to this account. The records are kept in the regular



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             course of business. It was in the regular course of business for a

             person with knowledge of the act or event recorded to make the

             record or data compilation, or for a person with knowledge to

             transmit information thereof to be included in such record. In the

             regular course of business, the record or compilation is made at or

             near the time of the act or event.”

      (6)    “The account shows that [Plaintiff] owed a balance of $1,810.53;

             and [Defendant Midland Funding] or authorized agent of

             [Defendant Midland Funding] seeks interest and a reasonable

             attorney’s fee, if applicable.”

             See Doc. 1-1, p. 2, ¶¶ 1-3.

32.   The sworn Affidavit signed by Defendant Kohls under penalty of perjury states that in

      addition to the $1,810.53, Defendant Midland Funding also “seeks interest and a

      reasonable attorney’s fee, if applicable.” See Doc. 1-1, p. 2, ¶ 3.

33.   By following the litigation model requirement that Defendants do not attempt to obtain

      any competent evidence prior to filing a collection lawsuit that could be used to show in a

      court of law: (1) that Plaintiff had entered into a contract on which the Defendants

      allegedly relied to file the collection lawsuit, or (2) how the amount claimed as owed was

      calculated, Defendants made conflicting and confusing statements as to the amount owed

      in the Civil Summons and Sworn Affidavit, resulting in one or more of the Defendants

      (a) making a false representation of the character, amount, or legal status of any debt in

      violation of 15 U.S.C. §§ 1692e, 1692e(2)(A), and 1692e(10), (b) making a false

      representation of the compensation which may be legally received by any debt collector




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       for the collection of a debt in violation of 15 U.S.C. §§ 1692e, 1692e(2)(B), and

       1692e(10), and (c) using unfair or unconscionable means to collect or attempt to collect

       the alleged debt by stating that the Encore Defendants was entitled to an amount not

       expressly authorized by the agreement creating the debt or permitted by law, in violation

       of 15 U.S.C. §§ 1692f and 1692f(1).

 34.   In conformance with the Defendants’ litigation model, prior to filing and serving the

       Civil Summons and sworn Affidavit, the Encore Defendants and Defendant Hosto did not

       review records of the debt originator to determine if the contract on which Defendants

       allegedly relied to file the collection lawsuit even exists and, if it does exist, whether the

       amount Plaintiffs allegedly owed was correctly calculated.

 35.   Without records of the debt originator available for Defendants to review prior to filing

       and serving the collection lawsuit, and without being able to correctly calculate the

       amount allegedly owed by Plaintiff based on the contract terms on which the Defendants

       allegedly relied to file the collection lawsuit, the Encore Defendants and Defendant Hosto

       used false, deceptive, and misleading representations or means in connection with

       collection of the debt by stating in the Civil Summons that Defendant Midland Funding

       was entitled to an amount not expressly authorized by the agreement creating the debt or

       permitted by law, which resulted in the Encore Defendants and Defendant Hosto falsely

       representing the character, amount and legal status of the debt, in violation of 15 U.S.C. §

       1692e(2)(A), and falsely represented the compensation which may be lawfully received

       by any debt collector for the collection of a debt in violation of 15 U.S.C. § 1692e(2)(B),

       both of which was the use of false, deceptive, and misleading representations or means in

       connection with collection of the debt or attempt to collect the debt, in violation of 15




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       U.S.C. §§ 1692e and 1692e(10), and an attempt to collect any amount (including any

       interest, fee, charge, or expense incidental to the principal obligation) not expressly

       authorized by the agreement creating the debt or permitted by law, in violation of 15

       U.S.C. § 1692f(1), which is the use of unfair or unconscionable means to collect or

       attempt to collect the debt, in violation of 15 U.S.C. § 1692f.

 36.   By failing to acquire or review the contract on which Defendants allegedly relied to file

       the collection lawsuit against and serve on Plaintiff resulted in Defendants stating in the

       Civil Warrant and sworn Affidavit different amounts to which the Encore Defendants

       was entitled, and was the use of false, deceptive and misleading representations or means

       in connection with collection of the debt that would be confusing to the least

       sophisticated consumer as to how much was allegedly owed, and a threat to take any

       action that cannot legally be taken by attempting to collect an amount not expressly

       authorized by the agreement creating the debt or permitted by law, in violation of 15

       U.S.C. §§ 1692e, 1692e(5), 1692e(10), 1692f, and 1692f(1).

 37.   By filing and serving the Civil Summons which contained knowingly false, deceptive,

       and misleading representations in connection with collection of the debt while

       unreasonably relying on Citibank or an assignee of Citibank as to the amount of debt

       allegedly owed by Plaintiff, without knowledge of whether a contract on which the

       Defendants allegedly relied to file and serve the collection lawsuit exists, or, if it does

       exist, what language it contained regarding the contract interest rate, the Encore

       Defendants and Defendant Hosto communicated credit information to the State court, the

       general public, and the Plaintiff, which is known or should be known to be false, in

       violation of 15 U.S.C. § 1692e(8).




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 38.   The collection lawsuit filed against and served on Plaintiff was based solely on a sworn

       account, which claim was defective because it was knowingly based on false, deceptive,

       and misleading statements in the sworn Affidavit filed with the Civil Summons intended

       to deceive the state court and Plaintiff about the knowledge and information that

       Defendants had about the ownership and correct amount of the alleged debt.

 39.   Without the contract on which the Defendants allegedly relied to file and serve the

       collection lawsuit and to demand the amounts owed, the Defendants may not recover

       attorney’s fees or a contract rate of interest on the underlying debt. Holcomb v. Cagle,

       277 S.W.3d 393, 397-98 (Tenn. Ct. App. 2008) (perm. app. den. Sup. Ct., December 15,

       2008)).

           Use of Sworn Affidavit That Contained False, Deceptive and Misleading
                Statements in Connection With Collection of the Alleged Debt

 40.   An affidavit filed in support of a Civil Summons on a sworn account in Tennessee is filed

       to attest to the correctness of the amount owed. See, Tenn. Code Ann. § 24-5-107(a).

 41.   Prior to signing the sworn Affidavit, Defendant Kohls did not review records of the debt

       originator to determine if the contract on which the Defendants allegedly relied to file the

       collection lawsuit exists and, if it does exist, whether the amount Plaintiffs allegedly

       owed was correct, and did not review records of the alleged assignment of the alleged

       debt from Citibank or an assignee of Citibank to Defendant Midland Funding, because

       Defendants followed the litigation model and did not obtain records of the debt originator

       that would have allowed Defendant Kohls to do so.

 42.   Without records of the debt originator available for Defendant Kohls to review prior to

       signing the sworn Affidavit, and without Defendant Kohls being able to correctly

       calculate the amount owed by Plaintiff based on the contract terms on which the



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       Defendants allegedly relied to file the collection lawsuit, as required by Tennessee state

       law for a sworn account, it was not possible for Defendant Kohls to have the personal

       knowledge required to truthfully make a sworn affidavit as to the correctness of the

       amount owed, if any, by Plaintiff.

 43.   By certifying in the sworn affidavit that: (a) she has access to pertinent account records

       for Defendant Midland Credit, servicer of this account on behalf of Defendant Midland

       Funding, (b) she makes the statements therein based upon personal knowledge of account

       records maintained on Defendant Midland Funding’s behalf, (c) Defendant Midland

       Funding is the owner of the alleged debt, (d) she has access to and reviewed the records

       pertaining to the alleged debt, (e) she is familiar with the manner and method by which

       Defendant Midland Credit creates and maintains its business records pertaining to this

       account, (f) the records are kept in the regular course of business, (g) it was in the regular

       course of business for a person with knowledge of the act or event recorded to make the

       record or data compilation, or for a person with knowledge to transmit information

       thereof to be included in such record, (h) in the regular course of business, the record or

       compilation is made at or near the time of the act or event, and (i) Plaintiff owes

       $1,810.53, plus interest and a reasonable attorney’s fee, Defendant Kohls falsely

       represented the character, amount, or legal status of the alleged debt, in violation of 15

       U.S.C. § 1692e(2)(A), and falsely represented the compensation which may be lawfully

       received by any debt collector for the collection of a debt, in violation of 15 U.S.C. §

       1692e(2)(B), communicated a threat to take any action that cannot legally be taken in

       violation of 15 U.S.C. § 1692e(5), communicated credit information to the State court,

       the general public, and Plaintiff, which is known or should be known to be false, in




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       violation of 15 U.S.C. § 1692e(8), all of which was the use of a false, deceptive, and

       misleading representations or means in connection with collection of the debt or attempt

       to collect the debt, in violation of 15 U.S.C. §§ 1692e and 1692e(10), and used unfair or

       unconscionable means to collect or attempt to collect the debt, in violation of 15 U.S.C. §

       1692f, including, but not limited to and attempting to collect amounts not expressly

       authorized by the agreement creating the debt or permitted by law, in violation of 15

       U.S.C. § 1692f(1).

 44.   Form affidavits, such as the one filed and served in the lawsuit against Plaintiff, are

       generated automatically by a computer owned by Defendant Midland Credit or its agents

       upon request and routinely provided to Defendant Kohls and other employees and/or

       agents of Defendant Midland Credit who engage in robo-signing hundreds, if not

       thousands, of affidavits each day without the personal knowledge required to make a

       sworn affidavit as to the correctness of the amount owed, within the requirements of

       Tennessee state law.

 45.   The form affidavits are attached to and filed with civil summons by debt collection

       attorneys such as Defendant Hosto, which civil summons is then served on the consumer.

 46.   The intentional use by Defendants of the form affidavit in Plaintiff’s collection lawsuit,

       which contains representations that are obviously false, deceptive, and misleading, and in

       violation of state law, is the use of false, deceptive, and misleading representations or

       means in connection with collection of the debt to collect, in violation of 15 U.S.C. §§

       1692e and 1692e(10), and the use of unfair and unconscionable means to collect or

       attempt to collect the debt in violation of 15 U.S.C. § 1692f.




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 47.   The Encore Defendants and Defendant Hosto intentionally use the form affidavits in the

       collection lawsuits filed against Tennessee consumers that contain language which

       alleges facts not in their possession and to which their employees and/or agents are not

       qualified to sign under oath due to their lack of personal knowledge about the contract

       terms on which the Defendants allegedly relied to file and serve the collection lawsuit, or

       what language it contained regarding interest, or of the documents allegedly transferring

       the alleged debt to Defendant Midland Funding’s ownership.

 48.   In adhering to their litigation model, the Encore Defendants and Defendant Hosto filed

       and served the collection lawsuit against Plaintiff in connection with collection of the

       debt and in an attempt to collect the debt using Defendant Kohls’ sworn Affidavit that

       contained knowingly false, deceptive, and misleading statements, as the only evidentiary

       basis to support their claims.

 49.   Defendant Kohls’ demands in the sworn Affidavit for amounts owed, without personal

       knowledge of the contract terms on which the Defendants allegedly relied to file and

       serve the collection lawsuit, or what language it contained regarding interest, or of the

       documents allegedly transferring the alleged debt to Defendant Midland Funding’s

       ownership, were false, deceptive and misleading misrepresentations made without the

       personal knowledge required to make a sworn affidavit as to the correctness of the

       amount owed, if any, by Plaintiff, as required by Tennessee law, and falsely represented

       the character, amount, or legal status of the alleged debt, in violation of 15 U.S.C. §

       1692e(2)(A), and falsely represented the compensation which may be lawfully received

       by any debt collector for the collection of a debt, in violation of 15 U.S.C. § 1692e(2)(B),

       and the use of a false, deceptive, and misleading representations or means in connection




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       with collection of the debt or attempt to collect the debt, in violation of 15 U.S.C. §§

       1692e and 1692e(10), and the use of unfair or unconscionable means to collect or attempt

       to collect the debt, in violation of 15 U.S.C. § 1692f.

 50.   By filing the collection lawsuit against Plaintiff with the employment of their litigation

       model, (a) Defendants violated 15 U.S.C. § 1692e(5) by threatening to collect the alleged

       debt with use of a knowingly false, deceptive, and misleading affidavit, and the threat to

       take any action that cannot legally be taken is the use of false, misleading and deceptive

       representations or means to collect or attempt to collect the debt, in violation of 15 U.S.C.

       §§ 1692e and 1692e(10), and (b) used false, deceptive, and misleading representations or

       means in connection with collection of the debt that would create a false impression in

       the mind of the least sophisticated consumer that the Encore Defendants and Defendant

       Hosto had the legal right to attempt to collect the debt in the manner in which they

       attempted to collect it, in violation of 15 U.S.C. §§ 1692e, 1692e(5), and 1692e(10).

 51.   By using false, deceptive, and misleading representations or means in connection with

       collection of the debt by filing and serving the sworn Affidavit that contained the

       knowingly false, deceptive, and misleading statements, including the amount owed of

       $1,810.53, the Encore Defendants and its agents communicated credit information to the

       State court, the general public, and Plaintiff, which is known or should be known to be

       false, in violation of 15 U.S.C. § 1692e(8).

   Failure To Include § 1692e(11) Language In Subsequent Communication - Sworn Affidavit

 52.   The FDCPA states:

              “The failure to disclose . . . in subsequent communications that the

              communication is from a debt collector.” 15 U.S.C. § 1692e(11).




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 53.   The sworn Affidavit is a “communication” as defined by 15 U.S.C. § 1692a(2).

 54.   The sworn Affidavit is not a formal pleading made in connection with a legal action.

 55.   If the sworn Affidavit is a subsequent communication by the Defendants with Plaintiff in

       connection with collection of the debt, then Defendants failed to disclose in the sworn

       Affidavit that the communication is from a debt collector, in violation of 15 U.S.C. §

       1692e(11).

                 Collection Service Licensing – Defendant Midland Funding

 56.   “Collection service” means any person that engages in, or attempts to engage in, the

       collection of delinquent accounts, bills, or other forms of indebtedness irrespective of

       whether the person engaging in or attempting to engage in collection activity has

       received the indebtedness by assignment or whether the indebtedness was

       purchased by the person engaging in, or attempting to engage in, the collection

       activity. Tenn. Code Ann. § 62-20-102(3). (emphasis added)

 57.   No person shall commence, conduct, or operate any collection service business in this

       state unless such person holds a valid collection service license issued by the [Collection

       Service] board under this chapter, or prior state law. Tenn. Code Ann. § 62-20-105(a).

 58.   Defendant Midland Funding is a “collection service” as defined by Tennessee state law.

 59.   As of the date of the filing of the collection lawsuit against Plaintiff, Defendant Midland

       Funding did not possess a valid collection service license issued by the Tennessee

       Collection Service Board that is necessary for a collection service to legally collect debts

       in Tennessee.




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 60.   By attempting to collect a debt from Plaintiff when Defendant Midland Funding was not

       licensed as a collection service by the Tennessee Collection Service Board, Defendant

       Midland Funding violated 15 U.S.C. §§ 1692e, 1692e(5), 1692e(10), and 1692f.

                                            Summary

 61.   The above-detailed conduct by Defendants in connection with collection of the debt and

       in an attempt to collect the debt was conduct in violation of numerous and multiple

       provisions of the FDCPA including, but not limited to the above-cited provisions of the

       FDCPA.

                                  Respondeat Superior Liability

 62.   In addition to their individual liability under the FDCPA, the acts and omissions of

       Defendants Kohls and Hosto as agents for the Encore Defendants and who communicated

       with Plaintiff as more further described herein, were committed within the time and space

       limits of their agency relationship with their principals, the Encore Defendants.

 63.   The acts and omissions by Defendants Kohls and Hosto were incidental to, or of the same

       general nature as, the responsibilities they were authorized to perform by the Encore

       Defendants in collecting consumer debts.

 64.   By committing these acts and omissions against Plaintiff, Defendants Kohls and Hosto

       were motivated to benefit their principals, the Encore Defendants.

 65.   The Encore Defendants are therefore liable to Plaintiff through the Doctrine of

       Respondeat Superior for the intentional and negligent acts, errors and omissions done in

       violation of federal law by the debt collectors employed as agents by the Encore

       Defendants including, but not limited to violations of the FDCPA, in their attempts to

       collect the debt from Plaintiff.




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                                      TRIAL BY JURY

 66.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend.

       7. Fed.R.Civ.P. 38.

                                    CAUSES OF ACTION

                                           COUNT I.

        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                   15 U.S.C. §§ 1692 et seq

 67.   Plaintiff incorporates by reference all of the above paragraphs as though fully stated

       herein.

 68.   The foregoing acts and omissions of Defendants constitute numerous and multiple

       violations of the FDCPA including, but not limited to each and every one of the above-

       cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq., with respect to Plaintiff.

 69.   As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to actual

       damages pursuant to 15 U.S.C. § 1692k(a)(1), in an amount to be determined at trial by a

       jury; statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A) in the amount of

       $1,000.00; and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3)

       from each and every Defendant.




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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against each and every Defendant:

                                               COUNT I.

            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                       15 U.S.C. §§ 1692 et seq.

       •     for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against each and

             every Defendant and for Plaintiff, in an amount to be determined at trial by a jury;

       •     for an award of statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(A) in the

             amount of $1,000.00 against each and every Defendant, and for Plaintiff;

       •     for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

             1692k(a)(3) against each and every Defendant and for Plaintiff; and

       •     for such other and further relief as may be just and proper.

 12/04/12                                       Respectfully submitted,

                                                PAM LINDSEY



                                                /s/      Alan C. Lee
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